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 1 FINNEGAN, HENDERSON, FARABOW,
   GARRETT & DUNNER, LLP
 2 Mark Sommers (pro hac vice)
     mark.sommers@finnegan.com
 3 Patrick Rodgers (pro hac vice)
     patrick.rodgers@finnegan.com
 4 901 New York Avenue, NW,
   Washington,   DC 20001-4413
 5 Telephone: (202)  408-4064
   Facsimile: (202) 408-4400
 6
   Morgan E. Smith (293503)
 7   morgan.smith@finnegan.com
   Daniel R. Mello Jr. (325714)
 8   daniel.mello@finnegan.com
   3300 Hillview Avenue
 9 Palo Alto, CA 94304
   Telephone: (650) 849-6600
10 Facsimile: (650) 849-6666
   KENDALL BRILL & KELLY LLP
11 Alan Jay Weil (63153)
     ajweil@kbkfirm.com
12 Amanda D. Barrow (313583)
     abarrow@kbkfirm.com
13 10100 Santa Monica, Suite 1725
   Los Angeles, California 90067
14 Telephone: (310) 556-2700
   Facsimile: (310) 556-2705
15
   Attorneys for Defendant and Counterclaim
16 Plaintiff Le-Vel Brands, LLC
17                       UNITED STATES DISTRICT COURT
18                     CENTRAL DISTRICT OF CALIFORNIA
19                               SOUTHERN DIVISION
20 THRIVE NATURAL CARE, INC.,                   Case No. 2:21-CV-02022-DOC-KES

21          Plaintiff and Counterclaim          LE-VEL’S REPLY IN SUPPORT OF
            Defendant,                          ITS DAUBERT MOTION TO
22                                              EXCLUDE SURVEY AND
       v.                                       TESTIMONY OF ROBERT E.
23 LE-VEL BRANDS, LLC,                          WALLACE

24                                              Judge:   Hon. David O. Carter
            Defendant and                       Crtrm:   10A
25          Counterclaim Plaintiff.             Date:    July 25, 2022
                                                Time:    8:30 a.m.
26                                              Action Filed: March 4, 2021
27
28
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  1 I.     INTRODUCTION
  2        Contrary to TNC’s admonition to the Court that “excluding Mr. Wallace’s
  3 survey would create reversible error,” a trial court has broad discretion in determining
  4 whether an expert’s testimony is reliable. See Mukhtar v. Cal. State Univ. Hayword,
  5 299 F.3d 1053, 1064 (9th Cir. 2002) (“A trial court not only has broad latitude in
  6 determining whether an expert’s testimony is reliable, but also in deciding how to
  7 determine the testimony’s reliability.”) (citing United States v. Hankey, 203 F.3d
  8 1160, 1167 (9th Cir. 2000). Nothing in TNC’s opposition changes the fact that Mr.
  9 Wallace’s survey is fatally flawed and unreliable because (1) Mr. Wallace failed to
10 adequately replicate the marketplace and backfilled his moving expert report with
11 foundational data obtained months after designing and conducting his survey; (2) Mr.
12 Wallace’s survey employed a biased and leading product-purchase page line-up that
13 was nothing more than an artificial matching game; and (3) Mr. Wallace’s survey
14 questions were improperly leading. See generally, Dkt. 120.
15         For the reasons set forth below and in its moving papers, Le-Vel respectfully
16 requests that the Court exclude Mr. Wallace’s survey and testimony.
17 II.     ARGUMENT
18         A.     The Absence of Contemporaneous Internet Records for an
                  Online Confusion Survey Is Fatal
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20         TNC’s leading argument is that Mr. Wallace’s survey “must be allowed
21 because it is virtually identical to consumer surveys the Ninth Circuit [h]as held were
22 properly conducted,” citing Fortune Dynamic, Inc. v. Victoria’s Secret Stores Brand
23 Mgmt., 618 F.3d 1037 (9th Cir. 2010) and Thane Int’l, Inc. v. Trek Bicycle Corp., 305
24 F.3d 894 (9th Cir. 2002). However, neither of these cases involved testing for
25 confusion in the online marketplace. The survey stimuli in Fortune were photos of
26 physical products, and there was evidence regarding how the products and photos
27 were obtained. Likewise, the survey stimuli in Thane were physical advertisements
28 of plaintiff’s and defendant’s products, not products sold online. When products are
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  1 sold online and a survey is testing confusion in the online environment (as here), it is
  2 axiomatic that an expert must have a record of how the online environment appeared
  3 at the time the survey was conducted, in order to establish that the web pages shown
  4 to survey respondents reflected actual marketplace conditions.
  5        Here, Mr. Wallace’s expert report is dated May 6, 2022, and it is undisputed
  6 that (1) Mr. Wallace used data he collected more than a year earlier for his March 2,
  7 2021 report; 1 (2) he has no contemporaneous website screenshots, Internet search
  8 results, or other materials reflecting how the parties’ products actually appeared in the
  9 online marketplace at the time the survey was conducted in early 2021; and (3) the
10 website stimuli shown in his May 6, 2022 expert report could have been obtained
11 anytime between March 2021 and May 2022. The absence of contemporaneous
12 marketplace documentation is not a “technical inadequacy” or methodological
13 critique that goes to a survey’s weight; it is a foundational failure that requires
14 exclusion. Rsa Protective Techs. v. Delta Sci. Corp., No. LA CV19-06024 JAK
15 (PLAx), 2021 U.S. Dist. LEXIS 209394, at *7 (C.D. Cal. Oct. 20, 2021) (“In making
16 a reliability determination, courts ‘scrutinize not only the principles and methods used
17 by the expert, but also whether those principles and methods have been properly
18 applied to the facts of the case.’”) (quoting Fed. R. Evid. 702 advisory committee’s
19 note to 2000 Amendment). Here, it is not even possible to scrutinize the principles
20 and methods used by Mr. Wallace for his survey because he has no contemporaneous
21 records of how the parties’ products appeared in the online marketplace at the time
22 the survey was conducted. As such, there is no basis to evaluate whether the stimuli
23 and the underlying premise of the survey, i.e., that both parties’ products were
24 returned by Google searches, reflected actual marketplace conditions at the time the
25 survey was run in early 2021. In fact, the Google searches relied upon in Wallace’s
26
27
     Mr. Wallace conducted the survey between February 8 and 20, 2021. (Dkt. 120 at
      1
28 13.)
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  1 report were run in August and September 2021, which was at least six to seven months
  2 after Wallace ran his survey and prepared his first March 2, 2021 expert report.
  3               Due to the ever-changing nature of the Internet, there is absolutely no guarantee
  4 that the stimuli Mr. Wallace says he obtained in step (3) of his chronology, sometime
  5 between March 2021 and May 2022 (“Third, I went back and ran the same searches
  6 again and visited the same websites again to take screenshots”) are the same
  7 screenshots that were actually used for the March 2, 2021 survey.                     Indeed, a
  8 comparison of the screenshots in Mr. Wallace’s July 1, 2022 declaration and his May
  9 6, 2022 report underscores this very point. In Mr. Wallace’s July 1, 2022 declaration
10 (which was signed under penalty of perjury), he says, “Attached to this declaration as
11 Exhibit 1 is a true and correct copy of a printout of the entire webpage from the
12 Le-Vel’s Thrive Skin point of sale that I used for my survey.” (Dkt. 144-1, ¶ 9)
13 (emphasis added). Exhibit 1 to his declaration consists of an Internet printout dated
14 July 1, 2022 and contains the following image of a “Thrive Skin - Infinite CBD
15 Correcting Serum”:
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26                However, Mr. Wallace’s May 6, 2022 report indicates that the following image
27 of the “Thrive Skin - Infinite CBD Correcting Serum” was used in the survey:
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15         As is readily apparent, the two images are not the same. Among other things,
16 Mr. Wallace’s July 1, 2022 declaration shows a product with a price of $64.00, while
17 his May 6, 2022 report shows a product with a price of $62.00. Even at this stage,
18 Mr. Wallace appears to be unclear as to exactly what image of Le-Vel’s product was
19 used in his survey.          With Mr. Wallace acknowledging he retained no
20 contemporaneous records of Internet searches or websites when the survey was
21 conducted in early 2021, the procedure he followed for purposes of his May 6, 2022
22 report was to run the “same searches” and visit the “same websites” again in 2022 to
23 try and recreate the stimuli he used for the survey more than a year earlier. (Wallace
24 Decl. Dkt. 144-1, ¶ 15.)
25         Of course, given the organic nature of Internet searches, Mr. Wallace knows
26 full well that running the “same searches” a year later will not yield the same results,
27 and visiting the “same websites” may not bring you to the same exact website content.
28 Indeed, the webpage that Mr. Wallace attached as Exhibit 1 to his July 1, 2022
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  1 declaration is not a printout of the entire webpage from Le-Vel’s Thrive Skin point of
  2 sale that was used for Mr. Wallace’s survey in early March 2021, as that page was, in
  3 fact, recently revised in April 2022 and would not have appeared the same way when
  4 Mr. Wallace conducted his survey in early 2021. (Declaration of Carmen Wasserman
  5 (“Wasserman Decl.”) ¶ 10, Ex. C.)2
  6        When conducting a survey testing confusion in the online marketplace, a survey
  7 expert’s failure to retain the Internet searches and website pages on which the entire
  8 survey is based violates the most basic tenet of proper survey research and
  9 protocol. As mentioned, conducting the search afterwards is no guarantee that the
10 same results would have been returned. Mr. Wallace’s attempt to recreate the
11 marketplace a year later is so unreliable as to be fatal, as an expert must disclose all
12 materials relied upon and recreating search results many months after designing and
13 conducting the search cannot satisfy this steadfast requirement. See S.E.C. v. Reyes,
14 No. C 06-04435 CRB, 2007 WL 963422, at *1, n.1 (N.D. Cal. Mar. 30, 2007) (“Since
15 the amendment, courts have overwhelmingly, though not uniformly, imposed a
16 bright-line rule that all materials considered by a testifying expert, including attorney
17 work product, must be disclosed.” (internal quotation marks omitted)). Because Mr.
18 Wallace was required to disclose the contemporaneous search results and websites
19 that were used when designing and conducting the survey in 2021, but failed to do so,
20 this Court should not consider such materials, including any attempts to recreate them
21 a year-plus later. See Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101,
22 1106 (9th Cir. 2001) (“Rule 37(c)(1) gives teeth to these requirements by forbidding
23 the use . . . of any information required to be disclosed by Rule 26(a) that is not
24 properly disclosed.”).
25
26
27   In particular, that page has the current “60-day Challenge Packs” which did not
      2

   exist at the time Mr. Wallace ran his survey in early 2021, let alone common pricing
28 information.
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  1        B.     The Stimulus Alleged to Have Been Used by Mr. Wallace Is
                  from a Le-Vel Promoter Link, Not a Le-Vel Link
  2
  3        Mr. Wallace claims that the stimulus he used came from a publicly accessible
  4 site located at https://thrivevitamin.le-vel.com/Shop, and that this URL was “on the
  5 front page” of Google search results for “thrive skin”. (Dkt. No. 144-1, ¶ 8) Yet, Mr.
  6 Wallace failed to produce any Google search result pages (from 2021 or 2022)
  7 supporting this hollow allegation. The reality is that this particular URL, while
  8 publicly accessible, is a link for a specific Le-Vel promoter named Elise Lininger.
  9 That link goes directly to the order page, as it assumes that the customer was referred
10 by Ms. Lininger (as is the case for all promoter links) and that such customer is
11 looking to shop and buy Le-Vel’s products. That URL becomes part of a cookie for
12 anyone accessing that promoter link (unless someone clears their browser of all
13 cookies).3       Further, that particular promoter link, https://thrivevitamin.le-
14 vel.com/Shop, directs users to a general THRIVE products shopping page (not a
15 THRIVE SKIN specific page), showing all the categories of products Le-Vel sells
16 under its THRIVE mark.          (Wasserman Decl. ¶ 6.)       Not surprisingly, the link
17 https://thrivevitamin.le-vel.com/Shop is not found in any of Google search results for
18 “thrive skin” (or any other “thrive” variant search term) that Wallace disclosed in his
19 expert report. (Dkt. 120-1, Ex. 1, Ex. 4.)
20         Mr. Wallace further claims “After I submitted my report [presumably his
21 second report dated May 6, 2022], I later created an account and logged on, and
22 confirmed that it is a generic account creation process similar to most other e-
23 commerce websites.” (Dkt. 144-1 ¶ 11.) This is not true. Le-Vel’s customer account
24 records show that Mr. Wallace established a customer account (Account No. is
25 9999973; email rob@bestofbreedbranding.com) on January 30, 2021 at 9:19 PM and
26
27   Mr. Wallace testified about the importance of clearing browsers when conducting
      3

   Google searches, and is well aware of the need to do so to avoid bias search results.
28 (Dkt. 120-1, Ex. 2; Wallace Dep. Tr. at 55:8-16, 59:7-11.)
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  1 was auto-assigned Marc van Gordan as his promoter (Promoter No. 1714463).
  2 (Wasserman Decl. ¶ 11.) As a new customer of Le-Vel, Mr. Wallace also received
  3 an email dated January 31, 2021 (which TNC produced in discovery) welcoming Mr.
  4 Wallace to Le-Vel as a new customer. 4 (Id., Ex. D.)
  5         The fact Mr. Wallace was auto-assigned a promoter in January 2021 means
  6 that he did not arrive at Le-Vel’s website through a Google search result from the link
  7 https://thrivevitamin.le-vel.com/Shop, as promoter links do not allow referred
  8 customers to auto-assign a promoter. (Id. at ¶ 12.) Instead, customers must confirm
  9 that the promoter at that link either referred them, or some other known promoter.
 10 (Id. at ¶ 7.) And again, the Google search results on which Wallace relied do not
 11 show the https://thrivevitamin.le-vel.com/Shop promoter link as a result from
 12 searches for “thrive skin” on Google. (Dkt. 120-1, Ex. 1, Ex. 4.) Indeed, to this day,
 13 Mr. Wallace (or TNC) has yet to produce a Google search result for “thrive skin” (or
 14 other “thrive” wording) that contains a link to Ms. Lininger’s promoter site at
 15 https://thrivevitamin.le-vel.com/Shop. And to the extent Mr. Wallace claims to have
 16 arrived at Ms. Lininger’s promoter site https://thrivevitamin.le-vel.com/Shop when
 17 Mr. Wallace established his first or second Le-Vel customer account, that is untrue,
 18 as Mr. Wallace selected the auto-assign promotor options both times, which is a
 19 feature not available through Le-Vel promoter links. (Wasserman Decl. ¶¶ 12-13.)
 20         Assuming for the moment that Mr. Wallace’s tall-tale is true, Mr. Wallace
 21 would have grossly limited the survey universe for his stimulus to only those
 22
 23
      Nearly a year and half later on June 5, 2022, Mr. Wallace established a second Le-
      4
 24 Vel customer account under Rob Wallace Jr. (email rob@robwallaceexpert.com)
 25 from the same IP address. (Wasserman Decl. ¶ 13.) That second account is
    Customer Account No. 10747674. (Id.) Mr. Wallace tried to sign up with his
 26 earlier email (rob@bestofbreedbranding.com) but it was not accepted because there
 27 was already an existing account under that email. (Id.) Mr. Wallace again selected
    the auto-assign promoter option when establishing his second account. (Id.)
 28
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  1 encountering that particular promoter link. Using a stimulus encountered by such a
  2 narrow universe of people (those only referred by Le-Vel promoter Ms. Lininger) and
  3 not a stimulus available to those searching for “thrive skin” (as Wallace states in his
  4 report) and selecting a link for Le-Vel’s general website, obviously excluded the vast
  5 majority of customers who would be required to go through the multi-step process of
  6 getting from https://le-vel.com/products/thrive/skin to the point-of-purchase page Mr.
  7 Wallace used in his survey. Further, that point-of-purchase page starts with all of Le-
  8 Vel’s categories of products in gray bars (e.g., THRIVE EXPERIENCE supplements,
  9 THRIVE PLUS supplements, THRIVE SKIN skincare products), which Mr. Wallace
 10 tellingly omitted in his July 1, 2022 declaration, and which need to be clicked and
 11 opened before encountering the actual pages where products from a given product
 12 category can be purchased. 5 (See id. at ¶ 9, Ex. C.) In sum, Mr. Wallace’s “promoter”
 13 stimulus resulted in a grossly under-inclusive survey universe.
 14               C.    TNC’s Attempt to Distinguish Pinnacle Is Unavailing
 15               TNC attempts to distinguish this case from Pinnacle Advert. & Mktg. Grp. Inc.
 16 v. Pinnacle Advert. & Mktg. Group, No. 18-CV-81606, 2019 WL 7376782 (S.D. Fla.
 17 Sept. 26, 2019) by arguing that Mr. Wallace’s leading questions in Pinnacle were
 18 found impermissible because that case involved services rather than goods. However,
 19 Pinnacle makes no distinction along these lines. In Pinnacle, the court took issue
 20 with the survey showing the stimuli side-by-side and asking if the companies were
 21 affiliated, because this format improperly led survey respondents to answer that there
 22 was an affiliation. See Pinnacle, 2019 WL 7376782 at * 5 (“In that regard, one of the
 23 survey’s only other questions stated that it would present screenshots from both
 24 Parties’ websites, presented those screenshots, and then asked whether, based upon
 25 the screenshots, those companies were affiliated?                 This question is likewise
 26
 27   5
        Mr. Wallace admits that it takes at least “5 to 6” clicks to get from online search
      results to the image shown to consumers as the stimulus. (See Dkt. 120 at 12.)
 28
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  1 improperly suggestive for the same reasons as the first one. In addition, the question
  2 improperly leads the survey respondent to believe that the companies are affiliated
  3 since it introduces the screenshots with the initial question, i.e., whether the survey
  4 respondent believes the Parties’ companies are affiliated, and adds that the
  5 screenshots come from the Parties’ websites.”) That same general side-by-side
  6 stimuli format was again used by Mr. Wallace here, but even more egregiously as part
  7 of a biased matching card exercise. (Dkt. 120 at 15-19.) See also Mattel, Inc. v. MCA
  8 Records, Inc., 28 F. Supp. 2d 1120, 1135 (C.D. Cal. 1998) (“A survey question which
  9 begs its answer cannot be a true indicator of the likelihood of consumer confusion.”)
 10 (citation omitted).
 11
            D.    Mr. Wallace’s Testimony Regarding Individual Sleekcraft
 12               Factors Lacks Foundation and Is Impermissible
 13         While TNC says it “does not dispute that Mr. Wallace is not permitted to, and
 14 will not, testify concerning the ultimate issue of whether or not there is a likelihood
 15 of confusion in this case,” TNC argues that Mr. Wallace should still be allowed to
 16 testify on ultimate issues as they pertain to individual Sleekcraft factors.6 (Dkt. 144
 17 at 12-14.)     Specifically, Mr. Wallace’s May 6, 2022 report contains opinions
 18 regarding the strength of TNC’s THRIVE mark, the relatedness of the parties’
 19 products, the parties’ target customers, and the level of care typically exercised by
 20 purchasers of the products at issue. (Id. at 13-14.) However, the opinions Mr. Wallace
 21 offers on these issues are all conclusory and not supported by any research,
 22 methodology, or analysis. For instance, with respect to the level of purchaser care,
 23 Mr. Wallace states in the summary of his report that “it is my opinion that . . .
 24 purchasers of the products in question exercise a relatively low degree of consumer
 25 care” (Paragraph 8), and then states again in the conclusion of his report that “it is my
 26
 27   In determining the ultimate issue of likelihood of confusion, the factfinder will be
      6

    tasked with weighing the likelihood of confusion factors set out in AMF, Inc. v.
 28 Sleekcraft Boats, 599 F.2d 341, 348-49 (9th Cir. 1979).
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  1 opinion that . . . there is a relatively low degree of consumer care in choosing between
  2 the skin care products at issue” (Paragraph 81). Apart from these two conclusory
  3 statements, his report contains no research, studies, methodology, or analysis of the
  4 level of care that would typically be exercised by purchasers of the products at issue,
  5 other than to blanketly state he has years of experience in the skincare product field.
  6               Under these circumstances, courts routinely exclude such opinions for various
  7 reasons. See, e.g., Icon Ents. Int'l v. Am. Prods. Co., No. CV 04-1240 SVW (PLAx),
  8 2004 U.S. Dist. LEXIS 31080, at *15 (C.D. Cal. Oct. 7, 2004) (“Moreover, given ‘the
  9 aura of authority experts often exude,’ an expert’s conclusion that a mark is weak or
 10 strong has the potential to unduly influence the jury. Thus, the Court grants Plaintiff’s
 11 motion to exclude the expert testimony of Richard Wallen.”) (quoting Mukhtar, 299
 12 F.3d at 1063-64); JIPC Mgmt. v. Incredible Pizza Co., No. CV 08-04310 MMM
 13 (PLAx), 2009 U.S. Dist. LEXIS 133019, at *7-10 (C.D. Cal. July 14, 2009) (“Isaacson
 14 offers opinions regarding application of several of the Sleekcraft factors relevant in
 15 assessing likelihood of confusion: ‘My analysis has focused on items such as the
 16 proximity or relatedness of the brands and their offerings; the marks’ similarity in
 17 appearance, sound, and meaning; the strength of the JIPC and IPC brands among the
 18 relevant set of customers; the marketing and advertising channels used to promote the
 19 brands; and the degree of care likely exercised by consumers.’ As this statement
 20 indicates, his testimony consists largely of personal observations and conclusions
 21 respecting factual issues within the province of the lay jury. . . . To the extent that
 22 Isaacson’s testimony constitutes his personal opinion regarding application of
 23 the Sleekcraft factors, the court concludes that it will not assist the trier of fact and
 24 that it is therefore properly excluded.”) (citations omitted); see also Allstate Ins. Co.
 25 v. Kia Motors Am., Inc., 2017 WL 10311211, at *6 (C.D. Cal. Sept. 20, 2017)
 26 (excluding opinion that plaintiff owned a strong and valuable brand, among other
 27 opinions, on the ground it was an opinion on an ultimate issue of law).
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  1 III.          CONCLUSION
  2               For the reasons set forth below and in its moving papers, Le-Vel respectfully
  3 requests that the Court exclude Mr. Wallace’s survey and testimony.
  4
  5 Dated: July 11, 2022
                                                         Morgan E. Smith (SBN 293503)
  6
                                                         morgan.smith@finnegan.com
  7                                                      Mark Sommers (pro hac vice)
                                                         mark.sommers@finnegan.com
  8
                                                         Patrick J. Rodgers (pro hac vice)
  9                                                      patrick.rodgers@finnegan.com
                                                         Daniel R. Mello Jr. (SBN 325714)
 10
                                                         daniel.mello@finnegan.com
 11                                                      FINNEGAN, HENDERSON,
                                                         FARABOW, GARRETT & DUNNER,
 12
                                                         LLP
 13
                                                         Alan Jay Weil (SBN 63153)
 14
                                                         ajweil@kbkfirm.com
 15                                                      Amanda D. Barrow (SBN 313583)
                                                         abarrow@kbkfirm.com
 16
                                                         KENDALL BRILL & KELLY LLP
 17
                                                         Attorneys for Le-Vel Brands, LLC
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